           Case 1:17-vv-00304-UNJ Document 32 Filed 03/09/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0304V
                                    Filed: November 3, 2017
                                         UNPUBLISHED


    LISA SORROW,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Causation-In-Fact; Tetanus
                                                             Diphtheria acellular Pertussis (Tdap)
    SECRETARY OF HEALTH AND                                  Vaccine; Shoulder Injury Related to
    HUMAN SERVICES,                                          Vaccine Administration (SIRVA)

                       Respondent.


Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On March 3, 2017, Lisa Sorrow (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury as a
result of receiving a Tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on March
24, 2016. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.
       On November 2, 2017, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent has concluded that “a preponderance of the
evidence establishes that petitioner’s injury is consistent with a shoulder injury related to

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:17-vv-00304-UNJ Document 32 Filed 03/09/18 Page 2 of 2



vaccine administration (“SIRVA”), and that it was caused-in-fact by the Tdap vaccine
she received on March 24, 2016.” Id. at 3. Respondent further agrees that no other
causes of petitioner’s left shoulder injury have been identified and petitioner met the
statutory requirements by suffering the condition for more than six months. Id. at 4.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
